









Dismissed and Opinion filed July 31, 2003









Dismissed and Opinion filed July 31, 2003.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO.
14-03-00306-CV

____________

&nbsp;

DAVID LEWIS ROWELL, Appellant

&nbsp;

V.

&nbsp;

UNIVERSITY OF TEXAS MEDICAL BRANCH -
GALVESTON, Appellee

&nbsp;



&nbsp;

On
Appeal from the 56th District Court

Galveston County, Texas

Trial Court Cause No.
&nbsp;02CV0901

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp; O P I N I O N

This is an appeal from a judgment signed January 21,
2003.&nbsp; No clerk=s record has been filed.&nbsp; The clerk responsible for preparing the
record in this appeal informed the court appellant did not make arrangements to
pay for the record.&nbsp; 

On July 3, 2003, notification was transmitted to all parties
of the Court's intent to dismiss the appeal for want of prosecution unless,
within fifteen days, appellant paid or made arrangements to pay for the record
and provided this court with proof of payment.&nbsp;
See Tex. R. App. P. 37.3(b).








Appellant filed no response.

Accordingly, the appeal is ordered dismissed.

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Opinion
filed July 31, 2003.

Panel consists of Justices Yates,
Hudson, and Frost.

&nbsp;





